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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF INDIANA

IN RE: Cynthia Ann Holcomb, Debtor

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Cynthia Ann Holcomb

PLAINTIFF
Vs.

SLM Corporation (a/k/a Sallie Mae) and/or
Educational Credit Management Corp.
USA Funds, US Dept of Education

Direct Loan Servicing Center

University Accounting Service/Indiana University

CREDITORS-CORESPONDENTS

MOTION TO DETERMINE DISCHARGEABILITY OF STUDENT LOANS

South Bend Division

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Case No: 08-34272-hed
Chapter: 7

Judge Harry C. Dees, Jr.

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Adversary Proceeding? c
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PURSUANT TO 11 USC § 523(a)(8)

Comes now the Debtor-Plaintiff, Cynthia Ann Holcomb, requesting this Court to determine

the dischargeability of her student loans which were made prior to August 20, 2010; and, in support

thereof, the Debtor-Plaintiff avers as follows;

FACTS OF THE CASE

1) FACT: On December 2, 2008, the Debtor-Plaintiff, Cynthia Ann Holcomb, filed for

bankruptcy protection under Chapter 13. The Case #08-34272-hcd was converted to Chapter
7 bankruptcy code on August 20, 2010 and was discharged on November 29, 2010 by Judge
Harry Dees; the Discharge under Section 727 of Title 11 is hereto attached as EXHIBIT A.

This Court has jurisdiction over this action under 28 USC § 1334. This proceeding is a core

proceeding.

2)

FACT: It is true that the student loans are governed by 11 U.S.C. § 523 and usually are not

dischargeable; however, the Debtor-Plaintiff is seeking the Court’s protection under 11

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+ ee
3)

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U.S.C. § 523 (a)(8) known as the undue hardship rule. The Debtor-Plaintiff's Schedules A
through J were filed with the Chapter 7 Bankruptcy Proceeding Case# 08-34272-hcd and are
on file with this Court. The Debtor-Plaintiff’s current Social Security Disability is verified by
the Social Security Disability Deposit attached hereto as EXHIBIT B. The Debtor-Plaintiff’s
Chapter 7 was a “no asset” case. The Debtor-Plaintiff surrendered and quitclaimed the 1458
Bridge Water Way, Mishawaka, IN condo back to Deutsche Bank, Et al and did not reaffirm
the debt on the 2006 Suzuki Aerio. The Debtor-Plaintiff currently resides in a rental at 1702
Longwood Court, Goshen, IN 46526. It is true that any payments made on the student loans
would cause undue hardship to the Debtor-Plaintiff and the Debtor-Plaintiff would have to
choose between necessary medical attention for her disability or payment of the student loans
which would be unconscionable; the Debtor-Plaintiff’s current budget is attached hereto as
EXHIBIT C.
FACT: The Debtor-Plaintiff’s education was under the supervision of Elkhart Vocational
Rehabilitation Office and the Debtor-Plaintiff's plan was administered by Counselor James
Allen #A05JA052; the case number is listed under the Debtor-Plaintiff’s social security
number. The Debtor-Plaintiff was being vocationally rehabilitated for her medical condition
and her medical record from the University of Chicago Hospitals is hereto attached as
EXHIBIT D. The Vocational Rehabilitation reference is attached as EXHIBIT D1. The
admitting diagnosis on Exhibit D states the “Patient has had six joint arthroplasties. Bilateral
total shoulders 1991. Bilateral total hip arthroplasties 1992. Bilateral total knee arthroplasties
1993.” The cause of the Avascular Necrosis in 1991 was related to a steroid given to the
Debtor-Plaintiff in 1988 for a subdural hematoma. An arthus reaction to IV steroids given in .
1988 manifested in the Debtor-Plaintiff in 1991 and caused Volkmann’s Contracture of the
Haversian System (bone system) to all load bearing joints, commonly known as Avascular

Necrosis (AVN) or Bone Death. Due to the death of Lawrence A. Pottenger, M.D., the
4)

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Debtor-Plaintiff's lower extremity surgeon and Biomet part designer, the Debtor-Plaintiff is

currently under the care for pain (Dr. Schrock) and Avascular Necrosis (Dr. Klaassen) at the

Orthopedic and Sports Medicine Center (OSMC); see the Debtor-Plaintiff’s left and right

knee X-Rays completed on 03/01/2012 hereto attached as EXHIBITS E & F. You will note

the fractures that continue to happen on a daily basis and the holes generated around the

prostheses by the Debtor-Plaintiff’s Avascular Necrosis (AVN). The pain and suffering of the

Debtor-Plaintiff is preventing gainful employment.

Fact: Undue hardship is met by the Debtor-Plaintiff according to the Brunner Test, based on

Brunner v. New York State Higher Education Services Corp., 831 F. 2d 395 (2d Cir. 1987):

a)

b)

Fact: The Debtor-Plaintiff cannot maintain a “minimal standard of living” for herself if
required to repay the student loan payments per month. The Debtor-Plaintiff would have
to choose between needed healthcare or student loan payments. This statement is fact
and is supported by the Debtor-Plaintiff’s minimal budget hereto attached as Exhibit B
filed with this motion. (Note: per the Census Bureau the median income for one in the
State of Indiana is $45,427 per year; the Debtor Plaintiff nets $24,288 per year.)

FACT: Health deterioration, or “additional circumstances exist indicating that this state
of financial affairs of the Debtor-Plaintiff is likely to persist in hardship” due to the
Debtor-Plaintiff’s disability and unemployment for all or a significant portion of the
repayment period of the student loans (see attached Exhibits E, f, & G). The Debtor-
Plaintiff requires two knee prostheses removal and replacements which are at “high risk”
at best for the Debtor-Plaintiff; see EXHIBIT G hereto attached (Dr. Klaassen’s
narrative and surgery recommendation). These statements are fact and are supported by
the Debtor-Plaintiff’s medical records which are attached as Exhibits E, F, & G.

FACT: The Debtor-Plaintiff has made “good faith” effort to repay the loans by

attempting to become employable, though her deteriorating medical condition of AVN
Case 08-34272-hcd Doc146 Filed 06/22/12 Page 4 of 19
has not allowed her to do so. The Debtor-Plaintiff has been in contact with the student
loan agencies and has applied for an income-based or contingent repayment plan hereto
attached as EXHIBIT H. The good faith statement is fact and it is supported by the
Trustee’s report that the prior Chapter 13 payment plan (in which the Debtor-Plaintiff
made all payments on the Student Loans to the Trustee) was up to date until the Debtor-
Plaintiff requested protection under the Chapter 7 Code of Title 11.

STATEMENT OF THE LAW AND ARGUMENT

The Debtor-Plaintiff did make student loans with the defendants; however, the standard for
determining the Dischargeability student loans in bankruptcy is governed as follows:

A discharge under section 727... of [Title 11] does not discharge an individual debtor
from any debt... for an educational benefit overpayment or loan made, insured or guaranteed
by a governmental unit, or made under any program funded in whole or in part by a governmental
unit or nonprofit institution, or for an obligation to repay funds received as an educational benefit,

scholarship or stipend, unless excepting such debt from discharge under this paragraph
will impose an undue hardship on the debtor and the debtor’s dependents.

11 U.S.C. §523(a)(8).
The phrase “undue hardship” is not defined anywhere in the Code; thus it is a factual
determination to be made by the Court, In re Cline, 245 B.R. 617, 620 (Bkrtcy. W.D. Mo. 2000). In
the Eight Circuit, Courts look to the “totality of the circumstances” to determine whether discharge
is appropriate in a particular case, Id., In re Andrews, 661 F.2d 702, 704 (8th Cir. 1981). This
standard is applied according to three principles: (i) the current and future financial resources of the
debtor and the debtor’s dependents; (ii) the debtor’s reasonable living expenses; and (iii) any other
facts that apply uniquely to the particular case, In re Cline, 248 B.R. 347 (B.A.P. 8th Cir. 2000)
(citing Andrews).
(1) Debtor-Plaintiff’s financial resources, now and in the foreseeable future, are quite
minimal. Debtor-Plaintiff does not work, is living on a modest income from Social
Security Disability, and due to her disability has continual medical expenses leaving no
expendable income. In Cline, the debtor had an advanced degree and Debtor-Plaintiff
does not, and during the period in question, the Cline debtor made approximately
$25,000.00 per year, a sum exceeding what Debtor-Plaintiff nets. Meanwhile, the

amount due on the loans in Cline was not as great as what Debtor-Plaintiff owes in this

4
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case; yet the District Court granted Cline a discharge of her student loan debt, Cline, 245
B.R. at 621, and the Eighth Circuit Bankruptcy Appellate Panel affirmed. Cline, 248
B.R. at 351. The Debtor-Plaintiff receives $2,068 net from Social Security Disability
monthly. This is her only form of income (see Exhibit B).

(ii) The “necessary reasonable living expenses” for the Debtor-Plaintiff are also not
excessive. The Eighth Circuit Bankruptcy Appellate Panel, in upholding the ruling of
the lower court, found that the debtor in Cline had as much as a $328.00 surplus each
month, even while paying modest rent on a townhome. Debtor-Plaintiff pays modest
rent of $500 and still has scarcely enough money to pay for minimal expenses each
month, foregoing entertainment and household expenses out of necessity. Additionally,
the Cline Court noted that “going over Cline’s expenses dollar for dollar in order to find
every possible way to boost a surplus is not reasonable given that the overall total
remains fairly minimal.” 248 B.R. at 351.

(iii) | Other factors, considered in the light of Cline, which buttress Debtor-Plaintiff’s
argument for discharge include the fact that: Cline had no disability, Debtor-Plaintiff
does; Cline was 35, Plaintiff is 54; Cline reasonably declined a payment plan extending
her payments out for 35 years, Debtor-Plaintiff does not wish to find herself with no
hope of financial recovery for 25 years; Cline obtained higher paying jobs but requested
transfers because she couldn’t handle the new responsibilities and stress...the Debtor-
Plaintiff has sought jobs that she can handle; but, remains unemployable due to her
disability and constant pain. The key phrase used by the District Court, upheld by the
Eighth Circuit, is that “like some debtors, Ms. Cline obtained an education that was not
worthwhile to her financially. To require her to pay for that decision for the rest of her
working life would indeed impose an undue hardship on her.” This is particularly true in
Debtor-Plaintiff’s case, when the loss of her education investment was not due to her
own actions but her disability coming out of remission. The Debtor-Plaintiff has no
excess expendable income and to require her to pay student loans would require her to
not pay her necessary medical bills.

Based upon the foregoing, Debtor-Plaintiff is entitled to discharge of her Student Loans because
failure to do so would be both an undue hardship and unconscionable.

WHEREFORE, the Debtor-Plaintiff, Cynthia Ann Holcomb, prays and respectfully requests relief
under 11 U.S.C. §523(a)(8) and states that the Dischargeability of student loans , such as those held
by the defendants, is governed by 11 U.S.C. §523(a)(8); and, that repayment would impose an “undue
hardship” on the Debtor-Plaintiff.

Respectfully submitted June 22, 2012,

 
 

 

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thia Anh Holcomb, Debtor-Plaintiff, Pro se
1702 Longwood Court, Goshen, IN 46526
(574) 536-947

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B18 (Official Form 18) (12/07)

United States Bankruptcy Court

Northern District of Indiana

Case No. 08-34272—hed

Chapter 7
In re Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
Cynthia Ann Holcomb
1702 Longwood Court

Goshen, IN 46526 |

Social Security / Individual Taxpayer ID No.:
XXX—-XX—-2290

Employer Tax ID / Other nos.:

DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to a discharge,
IT IS ORDERED:
The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).

BY THE COURT

Dated: L1/29/10 Harry C, Dees, Jn,
United States Bankruptcy Judge

SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.

EXHIBIT A

43507012291015
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CHASE &

April 17, 2012 through May 15, 2012
JPMorgan Chase Bank, N.A.

P O Box 659754 Account Number: o0e23
San Antonio, TX 78265 - 9754

 

CUSTOMER SERVICE INFORMATION

 

Web site: Chase.com
ULE Mego tad PUVUe genet pega fea gfeo ff gfet Uf ygeg gt HUEY Service Center: 1-800-935-9935
00085280 DRE 111 142 13712 NNNNNNNNYNN T 1000000000 11 Deal and Hard of Hearing: 1-800-242-7383
CYNTHIA A HOLCOMB Para Espanol: 1-877-312-4273
1702 LONGWOOD COURT International Calls: 1-713-262-1679

GOSHEN IN 46526-1469

 

IMPORTANT INFORMATION REGARDING ATM TRANSFERS

Please note that we are extending our ATM cutoff time for transfers between Chase accounts to better serve you. For
transfers and deposits at most Chase ATMs, the cutoff time is 14 p.m. Eastern time. For ATMs with an earlier cutoff, the
ATM screen will notify you of the cutoff time. We hope you enjoy this added convenience.

i
This change updates your Deposit Account Agreement under the Funds Availability Policy section, the second bullet under
“When Your Deposit is Received.” This change applies to Chase personal checking and savings accounts as well as Chase
business checking and savings accounts. All other terms of your account agreement remain the same. If you have any
questions, please refer to the phone number on your statement or visit your nearest Chase branch.

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CHECKING SUMMARY | Chase Checking

 

 

 

 

 

 

 

 

 

 

 

 

AMOUNT
Beginning Balance $108.57
Deposits and Additions 2,077.50
Checks Paid - 963.24
ATM & Debit Card Withdrawals - 197.92
Electronic Withdrawals - 963.57
Ending Balance $61.34.
DEPOSITS AND ADDITIONS
DATE DESCRIPTION AMOUNT
04/30 Credit Due To Debit Card Dispute 9 50
05/03 US Treasury aos PPD ID: 3031036030
Total Deposits and Additions $2,077.50

Jee See Bisabilily
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EXHIBIT B

Page 1 of 4
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CURRENT INCOME AND EXPENSE - 06/22/2012 CYNTHIA ANN HOLCOMB = #08-34272-hcd

INCOME

EXPENSES

$ 2,193.50
$ 96.50
$ 29.00

$ 2,068.00

$ 500.00
$ 105.00
$ 319.34
$ 130.13
$ 61.68
$ 195.72
$ 82.00
$ 35,00
$ 10.00
$ 10.00
$ 10.00
$ 10,00
$ 10.00
$ 10,00
$ 10.00
$ 10.00
$ 17.42
$ 115.00
$ 45,00
$ 350.00
$ 35.00
$

2,071.29

F

Social Security Disability Income

Medicare Premium

Prescription Premium

Net Monthly Social Security Disability Income

Rent

Goshen Water & Sewer/Trash

Auto - Capital One Auto (high interest from Bankruptcy)
Insurances

Geico Car Insurance

Gas & Electric

Cell Phone (must have for emergencies)

Prescription copays

TU Hospital - Monthly Payment Hospital/Out Pt Service
IU Hospital - Monthly Payment Hospital/Out Pt Service
IU Hospital - Monthly Payment Hospital/Out Pt Service
IU Hospital - Monthly Payment Hospital/Out Pt Service
IU Hospital - Monthly Payment Hospital/Out Pt Service
IU Physicians - Monthly Payment Heart

South Bend Clinic - Monthly Payment — Thyroid

OSMC - Monthly Payment Bone/Pain

License Plate ($209.05 yr)

Vehicle Fuel/Lube/Maint

Clothing/Foundations

Food

Laundry/Cleaning Supplies

(3.29) Net DEFICIT for General Practitioner Co-Pay/Eye/Dental and ?

(These things come out of the Debtor-Plaintiff's Food/Clothing Budget)

EXHIBIT C
 

 

 

Cc 23 cd Doci146 Filed 06/22/12 Page 9 of 19
University of Chicago Hosals “@ Radiology Report

Patient: HOLCOMB, CYNTHIA DOB: 05/25/1958 Sex:F Medical Record eee
Ens ae a a aR eee

Attending: James W. Ryan, MD
Status: Signed (final)
Urgency Desc: Signed (final) ‘ Day Number: 0333

      

 

 

 

 

 
 
   

  
  
 

dmitting Diagnosis: ;
Clinical Data: Patient has had six joint arthroplasties. Bilateral total shoulders 1991. Bilateral total hip
arthroplasties 1992. Bilateral total knee arthroplasties 1993. Evaluate for loosening or avascular
necrosis. a
ead
Referring MD: Lawrence A. Pottenger, MD
Referring Service:
Patient Location: Orthopedics General

 
  

 

 

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Exam Results:

Exam: Bone Scan by 3 Phase Technique

ogMnapranan. M4 mnrevinne hana enana in aur aartian
DOSE: 26.0 mCi Tc-99m HDP intravenously.

FINDINGS: Three-phase imaging of the knees was acquired along with blood pool images of
the anterior shoulders and hips. In addition, standard delayed imaging including
whole-body images and spot views of the anterior and posterior pelvis were obtained.

There is a focus of increased activity near the distal tip of the femoral component on the
heft. There is mildly increased periprosthetic activity involving the léft greater
trechanter, The the right hip shows no significant periprosthetic abnormalities. There
is slightly increased periprosthetic activity bilaterally in the knees. This is “slightly
more pronounced in the left compared with the right. There is no Significant
periprosthetic increase noted in either shoulder.

The early blood pool images show a mildly increased focus corresponding to the site of
increased activity at the tip of the left femoral component. No other significant focal
abnormality noted in the blood pool images and there is no significant asymmetry in
perfusion te the knees.

There is slightly increased activity in the ankles and feet. No other focus of increased
activity is noted to indicate a Significant bony lesion.

Activity is present in both kidneys and the bladder.

IMPRESSION:

 

1. Probable loosening noted in the distal aspect of the femoral component of the left hip
arthroplasty.

2. No other significant abnormalities to indicate loosening in the right hip or either
shoulder.

e
3. The increased periprosthetic activity around the knees is of uncertain significance.
Standards for abnormality in the bone scans following knee arthroplasties are not as
well-defined as they are with arthroplasties involving the hips.

EXHIBIT DW
October 14 Page: 1

 
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y & SO Mitchell E. Daniels, Jr. Governor
wt a OY ‘ Anne Waltermann Murphy, Secretary

  

 

a op State of Indiana
- he we “People wos + pane tpey gs :
= helping Division of Disability and Rehabilitative Services
a people 1659 Mishawaka Street
Py help Elkhart, IN 46514
‘ s themselves” TTD: — (574) 264-3723 Phone: (574) 262-2086
Hin. t “he VP: (574) 264-5693 Toll Free: (877) 847-9897

Fax: (574) 264-6487
Jun 04, 2009
Lose tis Oh - by Soci Z
Cyndi Holcomb Axa 7 /5 of ce why Seuad Lojshl
1702 Longwood Ct.
Goshen, IN 46526
Greetings:

This is to announce that the Elkhart Vocational Rehabilitation Office is moving on or about June
11, 2009. Our new location will be 1659 Mishawaka Street, Elkhart, IN 46514.

Our office telephone number and fax number are changing. Our new phone number is (574) 262-
2086 and the fax is (574) 264-6487.

We are told that we will be unavailable for two days through this moving process.

Your patience and cooperation during this period will be greatly appreciated. Thank you.
Sincerely,

James Allen gf
VR Counselor-* JOT TAOSH

Equal Opportunity / Affirmative Action Employer

 

EXHIBIT D1
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Left Knee Avascular Necrosis
(AVN)

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EXHIBIT E
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Right Knee Avascular Necrosis
(AVN

flolcomb , Cynthia

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Ac: OSM111052

Series: 2

R

W:4095 L:2048
Filter:None Fact:0

 

EXHIBIT F
OSMC Elkhart
2310 California Road
Elkhart, Indiana 46514

Phone: 574-264-0791 ~
Toll Free: 1-800-398-2058
Fax: 574-262-5183

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OSMC Goshen

1615 Winsted Drive

Goshen, IN 46526
Phone: 574-533-0300

hese
Michiana's Leading

Musculoskeletal Resource

OSMC Middlebury OSMC Nappanee
54938 SR 13 3000 North Main Street

Middlebury, IN 46540 Nappanee, IN 46550

Phone: 574-825-8685 Phone: 574-773-2499

 

OFFICE VISIT NOTE

PATIENT: Cynthia A. Holcomb
DATE OF BIRTH: 05/25/1958

AGE: 53 Years

GENDER: Female

OFFICE VISIT DATE: 03/01/2012 8:30 AM

REFERRING PHYSICIAN: Alan Bierlein, MD

PRIMARY CARE PROVIDER: Alan Bierlein, MD

PHYSICIAN: MARK A. KLAASSEN MD

HISTORY OF PRESENT ILLNESS
Chief Complaint 1: Bilateral Knee pain .
Onset Date: 10year(s) ago

Location: below knee prosthesis

Pain at Worst: severe (10) Pain at Best:
Quality (character): / sharp / stabbing
Context / Aggravated by: walking / bending
Relieved by: rest / immoblization

Associated Signs, Symptoms and Other Character
Comments: She had bilateral total knees done in 199
deceased. She had a bone scan done in 2002 which she sta
density scan between her knees and ankles. She has osteo
osteolysis and loosening of the femoral component and she

and she is at high risk. She also has bilatera
Chie? Comprainte

Pain Severity on Average: moderate (5-6) Scale:

Quality (character): / aching / burning - constantly

:_Left Lumbar Spine pain.
Onset Date: 4month(s) ago
Location: lumbosacral area / sacrum

istics: crepitus / swelling

3 in Chicago. She states the surgeon who did the surgery is now

Context / Aggravated by: sit to stand / lying down / moving

Relieved by: sleeping on her back with her knees “frogged out"/s
Associated Signs, Symptoms and Other Characteristics:

MEDICATIONS

Protonix
Synthroid

ALLERGIES

Alleray To:
Other Allergies

Steroids
Past Medical / Social History

Orthopedic Surgery:

 

Date Side Surgery
10/1991 Left shoulder arthroplasty - hemi
10/1991 Right knee arthroplasty - total - primary
04/1992 Right — shoulder arthroplasty - hemi
10/1992 Left hip arthroplasty - total - primary
40/1993 Right hip arthroplasty - total - primary
10/1992 Left knee arthroplasty - total - primary

Hospital Admissions / Procedures

Date Procedure /Problem

1988 subdural hematoma

Patient: Cynthia A 4olcon b

Reaction

tes showed mild loosening. She has lost height per a bone
penia and osteoporosis. She has bilateral knees with

will need revisions long stemmed. This will be a big surgery x
| hip replacements with wear of the polyethylene, ———aacOy

catching / locking when stands up from sitting

Bone Death, Swelling, Moon Face

Physician

B. Mass

L. Pothenger
B. Mass

L. Pothenger
L. Pothenger
L. Pothenger

Location

UCH

University of Chicago
UCH

University of Chicago
Univesity of Chicago
University of Chicago

In aurier ‘ute: 03/01/2012 8:30 AM EXHIBIT G
X-RAYS ,
—— -34272-hcd Doci46 Filed 06/22/12 Page 14 of 19
Knee 3 VW - Right wage erga fed -weight bearing d

Prosthesis: cemented total knee in good alignment / prosthesis loosening/Osteolysis
Knee 3 VW - Left AP, Lateral, Sunrise -weight bearing
Prosthesis: cemented total knee in good alignment / prosthesis loosening/Osteolysis
L Spine 3VW wispot- AP, Lateral, Lateral Spot L5S1
Arthritis: moderate to severe-L5-S1 Findings: degenerative disc disease
Arthritis 2: mild to moderate-Lumbar Spine Findings: degenerative disc disease
Pelvis 1VWAP- AP
Prosthesis: press fit total hip in good alignment/PE wear bilat
LABS
Labs ordered:
CBC with differential
complete metabolic panel
PT Protime/ INR
urine screen for bacteria, culture if indicated
EKG
Chest X-Ray

PHYSICAL THERAPY REFERRAL
Physical Therapy Ordered for:

Cc Side Dx Code Dx

Knee bilateral V43.65 TOTAL KNEE - CEMENTED

Knee bilateral 719.46 PAIN, KNEE

Knee bilateral Osteolysis

Cc Side Dx Code Dx

Lumbar Spine left 722.52 DEGENERATIVE DISC DISEASE - LUMBAR LUMBAR
Lumbar Spine left 720.2 SACROILITIS SACROILIAC

EVALUATE AND TREAT AS INDICATED
Post-op Therapy to start: 1 week post-op

 

IMPRESSION

DISCUSSION PLAN - ONE

Ce Side Dx Code Dx

Knee bilateral V43.65 TOTAL KNEE - CEMENTED
Knee bilateral 719.46 PAIN, KNEE

Knee bilateral Osteolysis 5
Tests Reviewed CAd

i ical records (By ‘Dr Mark A K lAAss

i hroplasty, bilateral hemi shoulder arthroplasties and bilateral total knee arthroplasties

ee summary below for details.
ontinue: activity modification
Follow up in Patient to call
DISCUSSION PLAN - TWO

 
 
  

 

Cc Side Dx Code Dx
Lumbar Spine left 722.52 DEGENERATIVE DISC DISEASE - LUMBAR LUMBAR
Lumbar Spine left 720.2 SACROILITIS SACROILIAC

Tests Reviewed

Patient Chart Seen Dr SeAroel)

Follow-up in: next available to: Pain Physician

Details for Surgery / Procedure that was recommended.

Surgery Type:

right - Knee - Arthroplasty - Total - Revision (both components) - 27487 / Knee /
left - Knee - Arthroplasty - Total - Revision (both components) - 27487 / Knee /
Surgery Risk(s) discussed =

The nature of the diagnosis and the recommended treatment plan were discussed with the patient. The indications, risks,
and anticipated benefits of the recommended procedure were described. Specific risks of the procedure including allergic
reaction, amputation, anesthetic risks, blood transfusion, pain, instability, dislocation, decreased range of motion, DVT,
failure to heal, hardware failure, hardware removal, infection, leg length discrepancy, malunion, non-union, paralysis,
permanent limp, pneumonia, shortening, stiffness, temporary or pérmanent nerve injury, unsightly scar, vascular injury,
scar tenderness, numbness, fusion, implant wear, osteolysis, revision(s). and death were explained. General risks of any
surgical procedure and (local / general / regional) anesthesia were also discussed. Alternative treatment options, including
no treatment, were then discussed. The risks, benefits, and anticipated outcomes of each were explained. The patient
expressed an understanding of our discussion. All questions and concerns were answered and addressed to the patient's

Patient: Cynthia A 4olconb [n -ovrier ‘ste: 03/01/2012 8:30 AM

  
  
  
  
 
 
  
 
 
   

  
 
 
 
 
 
 
  
  
SallieMae

FP uw SallieMae.c mcase 08-34272-hcd Doc146 Filed 06/22/12 Page 15 of 19

a

7 Income-Based Repayment Plan oye won

Form Approved

Alternative Documentation of Income Exp, Date 04302013

Federal Family Education Loan Program

IBR ALT DOC WARNING: Any person who knowingly makes a false statement or misrepresentation on this form or on any accompanying documents is subject to
penalties that may include fines, imprisonment, or both, under the U.S. Criminal Code and 20 U.S.C. 1097.

2

ae
and

 

 
   

 

 

 

 

[ SECTION 1: BORROWER IDENTIFICATION |
Pleas \

CYNTHIA A HOLCOMB SSN

1702 LONGWOOD CT Name

GOSHEN IN 46526-1469 Address

02 City, State, Zip Code

Telephone - Home ( )

Telephone - Other ( )

E-mail Address (Optional)

[SECTION 2: INSTRUCTIONS AND INFORMATION |
Type or print using dark ink. if you need help completing this form, contact your foan holder. Return the completed form and any required documentation to the address shown in
Section 6. . “ , wise or STE ae Rene oo ate pee ie ets ne .
Complete this form if you want to repay or continue to repay your eligible Federal Family Education Loan Program (FFELP) loan(s) under the Income-Based Repayment (BR

(1} You believe that your adjusted gross income (AGI), as reported on your most recently filed federal income tax return, does not reasonably reflect your current income (and/or your spouse's
current income, if you are married and file a joint federal income tax return); your loan holder will make this determination based on the information you provide with this form,

(2) Your loan holder has requested that you provide alternative documentation of income because your loan holder believes that your adjusted gross income (AGI), as reported on your most
recantly filed federal income tax return, does not reasonably reflect your current income {and/or your spouse's current income, if you are married and file a joint federal income tax return);

(3) You have been notified by your loan holder that the internal Revenue Service (IRS) is unable to provide your loan holder with documentation of your AGI; or

(4) You have notified your loan holder that you are not required to file a federal income tax return for the most recently ended tax year.

3 The amount of your monthly payment under the {BR plan is based on your current income {and your spouse's current income, if you are married and file a joint federal income {ax return) and is
~ Feevaluated annually. To submit aiternative documentation of your income, you must altach documentation of that income as described in Sectian 4, complete this form, including your signature in
8 Section §, and return it to the address shown in Section 6. If you are married and file a joint federal income tax return, your spouse must also sign in Section 5.

 

 

 

 

 

 

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g0SOZT ~IdA0

 

 

 

 

*[ SECTION 3: SPOUSE INFORMATION (IF YOU ARE MARRIED AND FILE A JOINT FEDERAL INCOME TAX RETURN) |
o

2

& Name __--— PL ve -

2 Last J / First Middle Initial

8

° Address

3 Number and Street City State - Zip Code

 

  
 

S| SECTION 4: INCOME INFORMATION (MUST BE COMPLETED BY THE BORROWER AND SPOUSE, iF MARRIED AND FILE A JOINT FEDERAL INCOME TAX RETURN)

5 You must provide your fotal annual taxable income from all sources that you currently receive (for example, incorne from employment, unemployment income, dividerid income, interest income, tips,
3 alimony). If you are married and file a joint federal income tax return, you must also provide your spouse's annual taxable income. Do not report untaxed Income such as Supplemental Security
2 Income, child support, or federal or state public assistance. :

You must provide supporting documentation for all income (yours and your spouse's) reported in this section (for example, pay stubs, letters from your employers listing income, interest or bank

statements, dividend statements), or, if these forms of documentation are unavailable, a signed statement explaining the income source(s) and giving the name and the address of the source(s). The

date on any supporting documentation you provide must be no older than 90 days from the date you sign this form.

Your eligibility for the IBR plan and your payment amount willbe determined based on your annual income as supported by the documentation you provide.

Check this box if you do nat have any income ¢ receive only untaxed income Auch as Supplemental Security Income, child support, or federal or state public assistance.

O Check this box if you are manied and file a joint federal income tax return and your spouse does not have any income or receives only untaxed incorne such as Supplemental Security Income,
child support; or federal of ‘state public assistance.

Complete the items below by entering your ual taxable income (as defined above).
Your annual taxable income: §. Z (as supported by the documentation you provide)

Your spouse's annual taxable income, if you are matried and file a joint federal income tax return: §.
SECTION 5: AUTHORIZATION, UNDERSTANDINGS, CERTIFICATION AND SIGNATURE
(MUST BE COMPLETED BY THE BORROWER AND SPOUSE, IF MARRIED AND FILE A JOINT FEDERAL INCOME TAX RETURN)

© {authorize the school, the lender, the guarantor, the U.S. Department of Education, and their respective agents and contractors to contact me regarding my toan(s), including repayment of my
foan(s), al the current or any future number that | provide for my cellular telephone or other wireless device using automated telephone-dialing equipment or artificial or prerecorded voice or text
messages.

® | understand thal my income information may be requested from the IRS even if alternative documentation of my income is accepted. | understand that if | am married and file a joint federal
income tax return with my spouse, my spouse's income information, documentation, and signature are required. | understand | must agree to provide to the foan holder on an annual basis
documentation of my income for the of determining my monthly pa amount under the IBR plan.

® I certify that al! of the informatio in any ai ying documentation is true, complete, and correct to the best of my knowedge and belief.

LK, Date (mm-dd-yyyy) iio fa____

Spouse Signature (if required) a y te) Date (mm-dd-yyyy)

7
7 C) FA
rd ene Coon! SON Thy katara yerm /o¥d

mm ATE

   

(as supported by the documentation you provide)

 

 

 

 

 

  
 
 

  
 
 
   

Borrower Signature

 

 

 

 

 

 

 
  
 
  

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wepartment of the Treasury—Intemal Revenue Service

«J U.S. Individual Income Tax Return

(99)

 

2011

 

OMB No. 1545-0074

 

Filed 06/22/12. Page 16 of 19

IRS Use Only—Do not write or staple In this space,

 

efor the year Jan. 1-Dec. 31, 2011, or other tax year beginning

, 2011, ending

See separate instructions.

 

 

* Your first name and initial Last name
Cynthia Ann Holcomb
If a joint return, spouse's first name and initial Last name

 

Your social security number

SPOUSE’ suvias sewers...

 

Home address (number and street). If you have a P.O. box, sea instructions.

1702 Longwood Court

 

Apt. no.

A Make sure the SSN(s) above
and on line 6c are correct.

 

City, town or post office, state, and ZIP code. If you have a foreign address, also complete spaces below {see instructions).
Goshen, IN 46526

Presidential Election Campaign
Check here if you, or your spouse if fifing

 

Foreign country name

Foreign province/county

 

 

Foreign postal code

jointly, want $3 to go to this fund. Checking
a box below will not change your tax or

refund. {["] You [] Spouse

 

 

Filing Status

Check only one
box.

Exemptions. 5

   
 

17 Single
2 ( Married fi iling Jointly (even if only one had income)
3 (1 Married fi ling separately. Enter spouse’s SSN above

and full name here. »

4 O Head of household (with qualifying person). (See instructions.) If
the qualifying person is a child but not your dependent, enter this

child’s name here.

»

 

5 [] Qualifying widow(er} with dependent child

6a ¥] Yourself. He ein YOU 28 a dependent, de not check box 6a

 

 

 
  
  
 

 
 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   
  
 

 

 

 

 

 

 

    

 
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    
  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

“oe “Dependents: sr apart (@: cain char ot ue ,
(1) First name Last name " (see Instructions): “* not iive with:
C weaieceane
If more than four CO (see Instructions)
acne ad 5 Depeniectr ants
check here >
d__ Total number of exemptions claimed . lines tere '
I ncome 7 ~~ Wages, salaries, tips, etc. Attach Form(s) W-2 7 -0-
8a Taxable interest. Attach Schedule B if required . 8a —
b Tax-exempt interest. Do not include on line 8a. 8b 8
Wore me . 9a Ordinary dividends. Attach Schedule B if required Lo 28 a
attach Forms b Qualified dividends 9b 5g
W-2G and 10 Taxable refunds, credits, or offsets of st state and local income taxes 10
1099-R if tax 11 Alimony received . an . 11
was withheld. 12 Business income or (loss). Attach Schedule C. or C- EZ . 12
; 13 Capital gain or (loss). Attach Schedule D if required. |f not required, check here | > oO 13
if ew 14 Other gains or (losses). Attach Form 4797 . soe ee 14
cee instructions, 182 IRA distributions 15a b Taxable amount 15b
16a Pensions and annuities | 16a b Taxable amount 16b
17‘ Rentai real estate, royalties, partnerships, S corporations, trusts, etc. Attach Schedule E 17
rot attach ane 18 = Farm income or (loss). Attach Schedule & 18 tT mS
payment. Also, +8 nemployment compensation rn 19 V/A ‘
please ‘ocial security benefits / Taxable amount 20b i -0-
“ZT Other income. List type and amount. —_ 21 S =
22 Combine the amount: its.in-th far | right column for lines 7 through 21. This is your total income » 22
a YY 23 Educator nses See ee 23 bs :
Adj usted 24 —_Cepiaif business expenses of reservists, performing artists, and e
Gross fee-basis government officials. Attach Form 2106 or 2106-EZ 24 ES
income Health savings account deduction. Attach Form 8889 25 &
Moving expenses. Attach Form 3903 . 26 pe
Deductible part of self-employment tax. Attach Schedule SE. 27 k
N a je Pa 28 = Self-employed SEP, SIMPLE, and qualified plans 28 ie
pus iv 29 _Self-employed health insurance deduction 29 ee
a 30 Penalty on early withdrawal of savings . 30 bE
P 31a Alimony paid b Recipient's SSN > | | 3ta i
yed 32  iRAdeduction . ~., . 32 g
pre ne 33 Student loan interest deduction . 33 E
“oe 34 Tuition and fees. Attach Form 8917. 34 ;
pl : 35 Domestic production activities deduction. Attach Form 8903 35 :
gf Til VP 36 Add lines 23 through 35. . . [36 -0-
37 Subtract line 36 from line 22. This is your ur adjusted g1 gross income >» 37 -0-

 

 

 

For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see separate instructions.

Cat. No. 113208

Form 1040 (2011)

 
  
    
   

 

ied 06/2312 Page 17 of 19

 

   

  
  

 

    

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53:2 Other credits trom Form: a
54 © Add'lines 47 through 53. These are your total credits .

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 
 

 

 

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Page 2
Amount from line 37 (adjusted gross income) See ek ek 38 -0-
Check | [1] You were born before January 2, 1947, () Blind. Total boxes a :
if: (1) Spouse was born before January 2, 1947, C) Blind. } checked » 39a i
if your spouse itemizes on a separate return or you were a dual-status alien, check here> 39b(_] i :
Itemized deductions (from Schedule A) or your standard deduction (see left margin) 40 5800
* People who Subtract line 40 from tine 38 41 -0-
i: check any 42 Exemptions. Multiply $3,700 by the number ¢ on ine 6d. 42 3700
/ 39a or 39b or 43 Taxable income. Subtract line 42 from line 41. If line 42 is more than fine a1, enter 0- 43 -0-
; claimed asa | 44 — Tax (see instructions). Check if any from: a (J Form(s) 8814 b [[] Form 4972 c [[] 982 election | 44 -0-
a dependent, 45 Alternative minimum tax (see instructions). Attach Form 6251 toe ee 45 -0-
; Instructions. Addlines44and45... . Poe eee em Lg -0-
.. © All others: Rawa
° Single or 47 Foreign tax credit. Attach Form 1116 i required . Loe 47
. Married filing | 48 — Credit for child and dependent care expenses. Attach Form 2441 48
: Stl 49 Education credits from Form 8863, line23 2 1 49 ke
Married filing | 50 — Retirernent savings contributions credit. Attach Form 8880 50 os
Gustin 51 Child tax credit (see instructions)... rn 51 . Ke
2, 52 Residential energy credits. Attach Form 5695 foe §2 =

 

 

 

 

 

 

 

 

 

 

 

 

 

  
 

  
     
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

jee 55 _ Subtract line 54 from line 46. If line 54 Is more than line 46, enter 0-
Other 56 Self-employment tax. Attach Schedule SE a
T 57 Unreported social security and Medicare tax from Form: a [1] 4137 b (] 8919
axes 58 = Additional tax on IRAs, other qualified retirement plans, etc. Attach Form 5329 if required
59a Household employment taxes from Schedule H oo 59a
b First-time homebuyer credit repayment. Attach Farm 5405 if required 59b
60 Other taxes. Enter code(s) from instructions 60
61___Add lines 55 through 60. This Is yourtotaltax . . . . . — os. hee, OC -0-
Payments 62 Federal income tax withheld from Forms W-2 and 1099. . | 62
— 2011 estimated tax payments and amount applied from 2010 retum | 63
if ane havea 64a Earned income credit (elcy) 2... wd 4a
: oid atch b Nontaxable combat pay election | 64b 3 2
Schedule EIC.} 65 Additional child tax credit. Attach Form 8812 ._y soe ee | 65 i
§ : “66 American opportunity credit from Form 8863, line 14. . . | 66 eee
Be 67 ‘First-time homebuyer credit from Form 5405, ling10.°. . | 67 saree
% 68 Amount paid with request for extensiontofile . . . . . | 68 ie
2 69 Excess social security and tier 1 RRTAtax withheld . . . . | 69
. 70 ~—- Credit for federal tax on fuels. Attach Form 4136. . 70
ee 71 Credits from Form: a []2439 b [] 8839 c []8801 d [J 88s 71
Be 72 ~—Add lines 62, 63, 64a, and 65 through 71. These are your total payments. . . . . P» | 72 -0-
: ‘ - Refund 73 ‘If line 72 is more than line 61, subtract line 61 from line 72. This is the amount you overpaid 73 -0-
: 74a Amount of line 73 you want refunded to you. If Form 8888 is attached, check here . »([] 74a -0-
Direct deposit? » Routing number bc Type: (] Checking [[] Savings |
' See >» d= Account number |
instructions. : bP
Amount of line 73 you want applied to your 2012 estimated tax » | 75 | -0-|
Amount 76 Amount you owe. Subtract line 72 from line 61. For details on how to pay, see instructions » | 76 -0-
You Owe 77 Estimated tax penalty (see instructions) . . . . . . . | 77 | -0-| Tae eu eee
Third Party Do you want to allow another person to discuss this return with the IRS (see instructions)? [] Yes. Complete below. Y No

  

 

   
  

  

Designee Designee’s Phone Personal identification
name » . no, & number (PIN) > i | | | | |
Sign Under penalties of perjury, | declare that | have examined this retum and accompanying schedules and statements, and to the best of my knowledge and belief,
: H ere they are true, correct, and complete. Declaration of Preparer (other than taxpayer) is based on all information of which preparer has any knowledge.

 

 

 

 

 

 

 

 

 

Dat Your occupation Daytime phone number
Gage a Joint return? See ° | pi time p
Y3 1/15. Disabled 574-536-9470
ee Ser a copy for | Date/ Spouse's occupation f the IRS sent you an Identity Protection
your records. PIN, enter it
hera (see inst.) d
Print/Type preparer's name Preparer’s signature Date Check oO if PTIN
self-employed
Firm's name > Firm's EIN >
Firm's address >» Phone no.

 

 

 

Form 1040 (2011)
 

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ed 06/22/12 Page 18 of 19

 
  
 

   

 

 

 

icome-Based Repayment Plan Request ove
‘Federal Family Education Loan Program Esp. Date 43072013

 

 

 

Use this form for initial determination of your eligibility to repay eligible Federal Family Education Loan Program (FFELP) loans under the Income-Based Repayment (IBR)
plan or for the required annual reevaluation of your payment amount under the IBR plan.

WARNING: Any person who knowingly makes a fabe statement or misrepresentation on this form or on any accompanying documents is subject to
penalties that may inchide fines, imprisonment, or both, under the U.S. Criminal Code and 20 U.S.C. 1097.

|_ SECTION 1: BORROWER IDENTIFICATION

 

 

 

 

CYNTHIA A HOLCOMB Please ¢.
1702 LONGWOOD cT SSN L _
GOSHEN IN 46526-1469 Name
02 Address
City, State, Zip Code

 

Telephone - Home ( )
Telephone - Other ( )
E-mail Address (Optional)
cg SECTION 2 INSTRUCTIONS AND INFORMATION : : ne oe So “}
Eu ‘ ons; carefully read the entire form, including Sections 6, 7, and 9. Type or print using dark ink. If you need. help completing this form, contact your loan holder. Retun »-,

 

 

 

 

   

   

oni ty
Completed form and any required documentation to the address shown [n Section 8.

“ee YOu tay be elgible to use the IBR plan to repay your FFELP ban(s) if you meet the eligibility requirements described in Section 7. An IBR plan cabubtor is available at Studentaid.ed.gov. The cakulator evaluates:
3 your elgibifty for the IBR plan and estimates your IBR plan payment amount. To use the cabulator you will need to enter your eligible loan debt, income, family size, and state of residence. The calculator is for

 
    

  

& You must promptly submit to your loan holder this complete IBR Plan Request, and one of the following: IRS Form 4506-T, IRS Form 4506T-EZ, or other documentation your loan holder may require
® (see Section 3). Note: The IRS will not accapt IRS Form 4506-T or 4506T. -EZ if it is received by the IRS more than 120 days from the date you signed it,

S| SECTION 3: REQUIRED INFORMATION AND DOCUMENTATION |
2 All borrowers - To request the [BR plan, you must provide each hater of the bans you wish to repay under the BR plan with the following information and documentation: 54
1. Your family size (as defined in Section 6):__f __ Note: if you do not enter your family size, your oan holder will assume a fami ¥y size of one.
2 Either (a) or (b) as required by your ban holder, unless you check the box in #3 bebw: (a) A completed IRS Form 4506-T or 4506T-EZ providing your consent for the IRS to discbse your AGI and
other federal income tax retum information to your loan holder. If required, your ban holder will IRS Form 4506-T or 4506T-EZ with this iBR plan request or will-provide instzuctions f /
obtaining the IRS forms. (b) Other documentation of your AGI as Specified by your ban ho Sid AYSOL T Arv+tor SQ S&F FAWlEAS C
3. OB Check this box if you were not or are not required to file a federal income tax retum for the mast recently ended tax year because you did not meet IRS filng requirements. Hf you check thi
your loan holder will require you to provide altemative documentation of your income.
Married borrowers only - You must complete the following If (1) you file a joint federal income tax return with your spouse, and your spouse has loans that are eligible for repayment under the IBR plan (see
Section 6) or (2) you and your spouse @fe joint borrowers of a Federal Consoidation Loan that you want to repay under the IBR plan.

 

  
  
  

Spouse Name (last, first, Mi) Spousa SSN |_J_|_}-(_i_J-!_I_|__1_} Date of Birth (mm-dd-yyyy)
© Check this box only if you have a Federel Consolidation Logn that you borrowed jointly with your spouse, end you and your spouse want to repay that loan under the BR plan. Both you and your spouse
must sign bebw. Note: If you are no longer married to the co-borrower of your Federat Consolidation Loan, each of you must compiele a separate IBR Plan Request form.
| secrion 4: ELIGIBLE FFELP LOANS WITH OTHER LOAN HOLDERS AND DIRECT LOANS |
Information on your other bans (and, if appicabb, your spouse's other bans) will be used to determine your eligibiity for the IBR plan and your monthly payment.amount. Check each box below that apples.

1. X Check this box only if (a) you have other loans with different hoiders that are eligible for the IBR plan (see Section 6)'and you make payments on those bans to a different holder than the holder to
‘e. which you submit this form, or (b) you and your spouse are requesting the IBR plan for a Federal Consolidation Loan that you borrowed jointly and your spouse has other loans with different holders that
UY severe elgbie tor ho 18R plan, and makes payments on those loans to a different holder than the holder to which you submit this form.

 

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ng rae
£ Check this box only if you are married and fie a joint federal income tax retum, and your spouse has loans that are eligible for repayment under the IBR plan (see Section 6). lf you check this box, bath

& you and your spouse must sign bebw. By signing, your spouse is authorizing the ban hokler to access information about his or her federal student bans in the Nationa! Student Loan Data System.
[ SECTION 5: BORROWER REQUEST, UNDERSTANDINGS, AGREEMENT, AUTHORIZATION, AND CERTIFICATION |

< 8 lL request to usa the IBR plan to repay my eigbke FFELP bans heid by the holler to which | submit this form, except for any loans that { have requested be excluded from the IBR pln.

 

inanci ip, i determination takes my ban holder more than 60 days. Unpaid interest that accrues during this forbearance period may be capitalized.
guarantor, the Department, and their respective agents and contractors to contact me regarding my ban(s), inciding repayment of my ban(s), at the current or any future
wire ica using automated telephone dising equipment or artificial or prerecorded voice or text messages.
mpenying documentation is true, complete, and corract to the best of my knowledge and befef.

Date (mm-dd-yyyy) Tiol 12

   
 

 

Spouse Signature (if required) Date (rmm-dd-yyyy)
Note: Spouse's signature is required if you checked the box in Section 3 and/or the box in Section 4, Item 2.

CC! Fy Le,
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Case 08-34272-hcd Doc146 Filed 06/22/12 Page 19 of 19

Income-Based Repayment Plan
Alternative Documentation of Income

Federal Family Education Loan Program

IBR ALT DOC WARNING: Any person who knowingly makes a false statement or misrepresentation on this form or on any accompanying documents is subject to
penaities that may include fines, imprisonment, or both, under the U.S. Criminal Code and 20 U.S.C. 1097.

  
    

OMB No. 1845-0102
Form Approved
Exp. Date 04/30/2013

  

 

 

 

SECTION 1: BORROWER IDENTIFICATION |

Please e'-*2" or correct the followir
e eee

SS. . a
Led ) Name CYNTHIA HOLCOMB
v7 Address _1702 LONGWOOD CTY
wile ak. City, State, Zip Code GOSHEN, IN 46526
fnisox GS5O0 Telephone - Home ( $74 ) _536-9470
Y goon - Other ( ALOK

Lh: [ke Aare J A 157 25- -mail Address (Optional) _ f ‘
SECTION 2: INSTRUCTIONS AND INFORMATION |
Type or print using dark ink. if you need help completing this form, contact your loan holder. Return the completed form and any required documentation to the address shown

in Section 6.

Complete this form if you want to repay or continue to repay your eligible Federal Family Education Loan Program (FFELP) loan(s) under the Income-Based Repayment (!BR)
plan and:

(1) You believe that your adjusted gross income (AGI), as reported on your most recently filed federal income ta return, does not reasonably reflect your Current income (and/or
your spouse's current income, if you are married and file a joint federal income tax return); your laan holder mation based on the information you provide
with this form;

(2) Your loan holder has requested that you provide alternative documentation of income because your loan holder believes that your adjusted gross income (AGI), as reported
on your most recently filed federal income tax return, does not reasonably reflect your current income (and/or your spouse’s current income, if you are married and file a joint
federal income tax return);

(3) You have been notified by your loan holder that the Internal Revenue Service (IRS) is unable to provide your loan holder with documentation of your AGI: or
(4) You have notified your loan holder that you are not required to file a federal income tax return for the most recently ended tax year.

The amount of your monthly payment under the IBR plan is based on your current income (and your spouse's current income, if you are married and file a joint federal income tax
return) and is reevaluated annually, To submit alternative documentation of your income, you must attach documentation of that income as described in Section 4, complete this
form, including your signature in Section 5, and return it to the address shown in Section 6. If you are married and file a joint federal income tax return, your spouse must also sign in
Section 5.

-atian,

 

 

 

 

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| SECTION 3: SPOUSE “all (IF YOU ARE MARRIED AND FILE A JOINT FEDERAL INCOME TAX RETURN) ‘|
"Name
Last J Vor Ont 2 First Middle Initial
Address
Number and Street City State Zip Code

 

SECTION 4; INCOME INFORMATION (MUST BE COMPLETED BY THE BORROWER AND SPOUSE, IF MARRIED AND FILE A JOINT FEDERAL INCOME TAX RETURN)

You must provide your total annual taxable income from ail sources that you currently receive (for example, income from employment, unemployment income, dividend income,
interest income, tips, alimony). If you are married and file a joint federal income tax return, you must also provide your spouse's annual taxable income. Do not report untaxed income
such as Supplemental Security Income, child support, or federal or state public assistance.

You must provide supporting documentation for all income (yours and your spouse's) reported in this section (for example, pay stubs, letters from your employers listing income,
interest or bank statements, dividend statements), or, if these forms of documentation are unavailable, a signed statement explaining the income source(s) and giving the name and
the address of the source(s). The date on any supporting documentation you provide must be no older than 90 days from the date you sign this form.

Your eligibility for the {8R plan and your payment amount will be determined based on your annual income as supported by the documentation you provide.
heck this box if you do not have any income or receive only untaxed income such as Supplemental Security Income, child support, or federal or state public assistance.

OCheck this box if you are married and file a joint federal income tax return and your Spouse does not have any income or receives only untaxed i income such as Supplemental
Security Income, child support, or federal or state public assistance.

Complete the items below by entering your anpual taxable income (as defined above).

Your annua! taxable income: $. (as supported by the documentation you provide)

Your spouse’s annual taxable income, if4you are married and file a joint federal income tax return: $. ala (as supported by the documentation you provide)
SECTION 5: AUTHORIZATION, UNDERSTANDINGS, CERTIFICATION AND SIGNATURE

(MUST BE COMPLETED BY THE BORROWER AND SPOUSE, IF MARRIED AND FILE A JOINT FEDERAL INCOME TAX RETURN)

 

 

 

 

@ | authorize the school, the lender, the guarantor, the U.S. Department of Education, and their respective agents and contractors to contact me regarding my loan(s), including
repayment of my loan(s), at the current or any future number that | provide for my cellular telephone or other wireless device using automated telephone dialing equipment or
artificial or prerecorded voice or text messages.

@ | understand that my income inforrnation may be requested from the IRS even if alternative documentation of my income is accepted, t understand that if 1 am married and file
a joint federal income tax return with my spouse, my spouse's income information, documentation, and signature are required. | understand | must agree to provide to the loan
holder on an annual basis documentation of my inco of determining my monthly payment amount under the IBR plan.

BF I certify that all of the inf } ' i i companying documentation is true, complete, and correct to the best of my knowledge and belief.

  
 

Borrower Signature Date (mm-dd-yyyy) tft
Spouse Signature (if required) AA. Date (mm-dd-yyyy) 1 fAa_—

Page 1 of 2

 

 
